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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

SHARON D. HAYS, and
husband M]KE HAYS,

 

Plaintift`s,

Vs. CIVIL ACTION NO. 1-03-]268-T

THE GooDYEAR TLRE &
RUBBER COMPANY,

Defendant.

 

CONSENT ORDER OF DISMISSAL W]TH PREJUI)I.CE
AS TO SHARON HAYS

 

Come now the parties, by and through their attorneys of record, and announce to the Court
that the matters and things heretofore in controversy between them have been settled and that this
cause should therefore be dislnissed, with prejudice

lT lS THEREFORE ORDERED, ADJUDGED AND DECREED that Sharon Hays be, and

the same is hereby dismissed with prejudice, with each party to bear their own costs.

 

 

United tates District Court Jud e 5,.

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Dai"@ H. ruale, Sq. `(6002)
Attomey for Defe ant

26 North Second Street
Memphis, TN 381.03

(_901) 527-4673

.»'his document entered on the docket sheet ln com liance

with Ru|e 58 and[or 79 {a) FHCP on (i“i’}’i§

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Jeffrey A. Garrety, Esq.

Attorney for Plaintiffs
65 Stonebridge Bivd.
Jackson, TN 38305
(731) 668»4878

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This notice confirms a copy of the document docketed as number 60 in
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Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
Memphis7 TN 38103

Jeffrey A. Garrety

LAW OFFICE OF JEFFREY A. GARRETY
65 Stonebridge Blvd.

Jackson7 TN 38308--0 l 0

Dale H. Tuttle

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

Memphis7 TN 38103

Hal W. Wilkins

LAW OFFICES OF HAL W. WILKINS
414 Union St.

Ste. 1900

Nashville, TN 372]9--178

Joseph Taggart

LAW OFFICE OF JEFFREY A. GARRETY
65 Stonebridge Blvd.

Jackson7 TN 38308--0 l 0

Honorable J ames Todd
US DISTRICT COURT

